                                                    U.S. Department of Justice
                                                    Civil Division


                                                                Tel: 202-305-8648

                                       April 5, 2024

Lyle W. Cayce, Clerk
United States Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130-3408

RE:   Texas v. United States Department of Homeland Security, No. 23-50869

Dear Mr. Cayce:

       The government respectfully submits this letter in response to the Court’s
instruction to “address whether, in light of the district court’s supplemental
findings, expedited review is still warranted.” Apr. 1 Letter.

       The government does not consider the district court’s supplemental findings
to bear on the propriety of expedited review. The government acknowledges that
the Supreme Court’s vacatur of this Court’s injunction pending appeal, see
Department of Homeland Security v. Texas, No. 23A607 (U.S. Jan. 22, 2024),
removes the basis on which the government sought expedition in December, see
Mot. to Expedite 4-6. Nonetheless, the government does not oppose the resolution
of this appeal on an expedited schedule, or on any timeline the Court determines is
appropriate. See also 5th Cir. R. 47.7 (calendaring priority for actions seeking
preliminary injunctive relief). The appeal is fully briefed, and the government
stands ready to present oral argument whenever the Court elects to hear it.


                                       Sincerely,

                                       /s/ Steven A. Myers
                                       Steven A. Myers

cc: all counsel (by ECF)
